
23 N.Y.2d 674 (1968)
The People of the State of New York, Respondent,
v.
Fred Cohen, Appellant.
Court of Appeals of the State of New York.
Argued October 17, 1968.
Decided November 14, 1968.
Julia P. Heit and Anthony F. Marra for appellant.
Elliott Golden, Acting District Attorney (Raymond J. Scanlan and Harry Brodbar of counsel), for respondent.
Concur: Judges SCILEPPI, BERGAN, KEATING, BREITEL and JASEN. Chief Judge FULD and Judge BURKE dissent and vote to reverse upon the ground that the detective acted without the requisite probable cause to make a valid arrest and the evidence obtained incidental to this invalid arrest should be suppressed.
Judgment affirmed; no opinion.
